       Schedule A-4                                                    Case 1:24-cv-00941-JKB Document  392-4 Filed 10/09/24 Page 1 of 1
                                                                                                Great American




Category   Container #        HBL#            MBL#          MBL Shipper          MBL Consignee                           Cargo Description                              Insurers or Agents          Currency   Value (May Change)


                                                          Cruz World Shipping                         Medical Equipment (Anesthesia Machines), Medical Supplies,
   1       CAIU8927850   CWSEBKG08147902   MEDUVD622738                         Transmaster Limited                                                                Great American Insurance Group     USD                 115,610.53
                                                                 Inc.                                         Used Household Goods and Personal Effects




                                                                                                             1                                                                                                     10/9/2024
